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'll>.AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 1
                                                                                                                          FILED
                                                                                                                         u.s. DISTRICT COURT
                                                                                                                  FAEES" 61S'FRJElT 'RIVIIS;RS


                                       UNITED STATES DISTRICT COURT                                                      MAR 23 2011
                                                           Eastern DistriJ of Arkansas                    JAM
                                                                                                          BY:---I'-:'::Jr-"---K.L..~=~=
          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                               v.                                         (For Revocation of Probation or Supervised
                  VERONICA GOOCH

                                                                          Case No. 4:07cr000272-03 ,IMM
                                                                          USM No. 24863-009
                                                                          Jason Files
                                                                                                  Defendant's Attorney
THE DEFENDANT:
ri/ admitted guilt to violation of condition(s)           General, Std & Special         of the term of supervision.
o was found in violation of condition(s)                 _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                            Violation Ended
General                             Failure to refrain from use of a controlled substance                     03/01/2011

Special                             Failure to complete residential treatment center                          02/25/2011
Standard 7                          Failure to refrain from possession of a controlled substance              02/24/2011
Standard 9                          Failure to refrain from association with a convicted felon                 11/29/2010
       The defendant is sentenced as provided in pages 2 through              4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
econormc CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0211                       03/23/2011
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:             1969

City and State of Defendant's Residence:                                                            Signature of Judge
No home address
                                                                           James M. Moody                                US District Judge
                                                                                                 Name and Title of Judge

                                                                          03/23/2011
                                                                                                           Date
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  AO 245D        (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 2- Imprisonment

                                                                                                     Judgment -   Page   _=.2_ of   4
  DEFENDANT: VERONICA GOOCH
  CASE NUMBER: 4:07cr000272-03 JMM


                                                                     IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FOURTEEN (14) MONTHS




       "    The court makes the following recommendations to the Bureau of Prisons:

The defendant shall participate in residential or non-residental substance abuse treatment.
The defendant shall serve her term of imprisonment in Greenville, Illinois.


       "    The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
            D      at   _________ D                          a.m.     D     p.m.    on
            [J     as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D      as notified by the United States Marshal.
            D      as notified by the Probation or Pretrial Services Office.

                                                                            RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                                   By
                                                                                               DEPUTY UNITED STATES MARSHAL
               Case 4:07-cr-00272-JMM                         Document 169                 Filed 03/23/11                                  Page 3 of 4
 AO 2450     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 5 - Criminal Monetary Penalties

                                                                                                            Judgment -                      Page    3      of       4
 DEFENDANT: VERONICA GOOCH
 CASE NUMBER: 4:07cr000272-03 JMM
                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                            Fine                                                Restitution
 TOTALS          $ 0.00                                                     $ 0.00                                      $ 992.75


 LID The determination of restitution is deferred until
      entered after such determination.
                                                              -----. An Amended Judgment in a Criminal Case (AO 245C) will be
 D The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfeaeral victims must
      be paia before the United States is paid.

  Name of Payee                                 Total Loss*                             Restitution Ordered                                        Priority or Percentage
Wal-Mart                                                                                             $992.75




  TOTALS                                    $. _ - - - - -0.00
                                                           -­                       $                 ,;;.;99;;.:2:..:.:.7:.. ;:5:.. . ­


  D    Restitution amount ordered pursuant to plea agreement $

  D    The defendant must pay interest on restitution or a fine more than $2,,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. ~ .j612(fl. All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       riJ the interest requirement is waived for the             D fine         riJ ~estitution.
       D the interest requirement for the            D     fine         D restitution is modified as follows:


  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 6 - Schedule of Payments

                                                                                                        Judgment- Page   4    of       4
DEFENDANT: VERONICA GOOCH
CASE NUMBER: 4:07cr000272-03 JMM

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D     Lump sum payment of $ _0_.0_0                         _     due immediately, balance due

            o not later than                                               , or
            o in accordance with 0              C,   o E,or o F below); or
                                                      0      D,

B     r;f Payment to begin immediately (may be combined with 0 C,   o D, or                            r;fF below); or

C     0     Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
           _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     0     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     0     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     r;f Special instructions regarding the payment of criminal monetary penalties:
          Restitution is payable during incarceration at the rate of 50% per month of all funds earned from prison
          employment. This excludes gifts and gratuities from family and/or friends.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary rena1ties is due during the period of imprisonment. All criminal monetary penaltIes, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




rJ Joint and Several
      Defendant ~nd Co-Defendant N~mes and Case Numbers (including defendant number), Joint and Several Amount and
      correspondmg payee, If appropnate.
    4:07cr00272-01 - Kenneth Sims; 4:07cr00272-02 - Rebecca Fortune; 4:07cr00272-04 - Amelia Ann Harris
    Restitution shall be joint and several with any other person who has been or will be convicted on an offense for which
    restitution to the same victim on the same loss is ordered.

o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

o     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
